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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

______________________________________
CHERYL BESSER, individually and on             )
behalf of others similarly situated,           )
                                               )
              Plaintiff,                       )
                                               )
v.                                             )
                                               )
                                               )      Docket No.: 1:13-cv-00502-PLM
UNITED BAY COMMUNITY                           )
CREDIT UNION,                                  )      Hon. Paul L. Maloney
                                               )      MagistrateJudge: Joseph Scoville
              Defendant/Third Party Plaintiff, )
                                               )
v                                              )
                                               )
INFORMA BUSINESS SYSTEMS, INC.,                )
                                               )
              Third Party Defendant.           )
                                               )
                                               )


                         STIPULATED ORDER OF DISMISSAL

       The Court, having reviewed the Stipulation of Dismissal, entered November 15,

2013, agreeing to the dismissal of this action, with prejudice as to Plaintiff’s individual

claims, without prejudice as to the claims of any alleged class members, and with

prejudice and without costs as to Third Party Plaintiff’s third party claims against Third

Party Defendant.

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

1.     Plaintiff’s individual claims against Defendant are dismissed with prejudice and

       the claims of any alleged class members against Defendant are dismissed

       without prejudice.
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2.     Third Party Plaintiff’s third party claims against Third Party Defendant are

       dismissed with prejudice and without costs.

       This Order resolves the last pending claim and closes this case.

       IT IS SO ORDERED.
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Approved for entry by:


/s/ Sunshine R. Fellows                  /s/ Robb S. Krueger
Sunshine R. Fellows                      Robb S. Krueger
Attorney for Plaintiff                   Attorney for Defendant / Third Party
                                         Plaintiff


/s/ Alan F. Himelhoch
Alan F. Himelhoch
Attorney for Third Party Defendant


Dated: November 21, 2013
